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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA,
Plaintiff,

cv. NO. 04~2656-s/v”'
cr. NO. 90-20155-01-@

VS.
ANTONE SIDNEY CURTIS,

Defendant.

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ORDER CONSTRUING FILING AS MOTION PURSUANT TO
28 U.S.C. § 2244(b){3)
AND
ORDER TRANSFERRING MOTION PURSUANT TO 28 U.S.C. § 2244(b){3)
TO UNITED STATES COURT OF APPEALS FOR THE SIXTH CIRCUIT

 

Defendant Antone Sidney Curtis, Bureau of Prisons (“BOP”)
inmate registration number 15994-076,1 an inmate at the Federal
Correctional Institution in Taft, California, filed a pro se motion
pursuant to 28 U.S.C. § 2255, accompanied by a legal memorandum, on
August 25, 2004.

On July 17, 1990, a federal grand jury indicted Curtis for
conspiring to possess cocaine with the intent to distribute, in
violation of 21 U.S.C. § 846. The charges were tried to a jury on
November 19 and 20, 1990, and the jury returned a guilty verdict on
November 20, 1990. District Judge Julia Smith Gibbons conducted a

sentencing hearing on January ll, 1991, at which time Curtis was

 

l Although the plaintiff's typed, documents spell his first name as
“Antoine,” every previous court action involving this inmate, and the BOP's records,
spell his first name as “Antone,” which is also the way the defendant signs his
name.

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With Hu|e 58 and/or 79(3) FRCP on

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sentenced to two hundred fourteen (214) months imprisonment, to be
followed by a five-year period of supervised release. Judgement was
entered on January 29, 1991. The United States Court of Appeals for
the SiXth Circuit affirmed Curtis’s conviction and sentence. United
States v. Curtis, No. 91-5189, 1991 WL 270820 (6th Cir. 1991), g§;;L
denied, 505 U.S. 1207 (1992).

On April 19, 1995, Curtis filed an irregular motion seeking
a reduction in his sentence, which Judge Gibbons construed as a motion
pursuant to 28 U.S.C. § 2255 and denied in an order issued on April
27, 1995. Curtis v. United States, No. 95-2287-G (W.D. Tenn.). Judge
Gibbons filed another order to the same effect in case no. 95-2287 on
September 1, 1995. Judgment was entered on November 6, 1995. Curtis
did not appeal.

For reasons that are not clear, Curtis filed a duplicative
motion on June 9, 1995, which Judge Gibbons construed as a § 2255
motion and denied in an order issued on October 25, 1995. Curtis v.
United States, No. 95-2448-G/V (W.D. Tenn.). Judgment was entered on
November 1, 1995. Curtis did not appeal.

Curtis filed a third § 2255 motion on April 21, 1997. Judge
Gibbons issued an order on April 25, 1997 transferring the case to the
Sixth Circuit pursuant to 28 U.S.C. § 2244(b)(3) and In re Sims, lll
F.Bd 45, 47 (6th Cir. 1997). Curtis v. United States, No. 97-2332-G/V
(W.D. Tenn.). It does not appear that Curtis obtained leave to file
a successive § 2255 motion.

Curtis filed a fourth § 2255 motion on August 22, 2000, in
which he sought relief pursuant to the Supreme Court’s decision in

Apprendi v. New Jersev, 530 U.S. 466 (2000). Judge Gibbons ordered the

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Government to respond to the motion. Simultaneous with the filing of
his fourth § 2255 motion, and without informing Judge Gibbons, Curtis
filed a motion7 with the Sixth Circuit seeking leave to file a
successive § 2255 motion on his Apprendi claim. In re Antone Sidnev
Curtis, No. 00-6043. On February 1, 2001, the Sixth Circuit issued an
order holding Curtis's motion in abeyance pending its decision in ln
re Michael A. Clemmons, 259 F.3d 489 (6th Cir. 2001). In Clemmons, the
Sixth Circuit held that the Supreme Court must explicitly hold that
its decision is retroactive to cases on collateral review in order to
satisfy the standard for a second or successive petition under §
2244(b)(2)(A) and § 2255 I 8(2) and that it had not done so in
Apprendi. ld; at 495. On September 25, 2001, based upon its holding
in Clemmons, the Sixth Circuit denied Curtis’s application.
Subseguently, on December 17, 2001, Judge Gibbons issued an order
denying Curtis’s fourth § 2255 motion as duplicative of the
application filed with the Sixth Circuit in case no. 00-6043. Curtis
v. United States, No. 00-2753 (W.D. Tenn.).

On August 25, 2004, Curtis filed a fifth § 2255 motion
seeking relief pursuant to the Supreme Court's decision in Blakely v.
Washington, 124 S. Ct. 2531 (2004).

This motion is a successive § 2255 motion that cannot be
filed in this district without obtaining permission from the United
States Court of Appeals for the Sixth Circuit. 28 U.S.C. §
2244(b)(3)(A); see also United States v. Bender, 96 Fed. Appx. 344

(6th Cir. Apr. 26, 2004); McOueen v. Scroggv, 99 F.3d 1302, 1334~35

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(6th Cir. 1996).2 Under ln re Sims, 111 F.Bd 45, 47 (6th Cir. 1997)
(per curiam), “when a second or successive petition for habeas corpus
relief or § 2255 motion is filed in the district court without §
2244{b)(3) authorization from [the Sixth Circuit], the district court
shall transfer the document to [the Sixth Circuit] pursuant to 28
U.S.C. § 1631.

Curtis’s latest motion cannot be filed in this district
without permission from the Court of Appeals. Therefore, under §im§,
111 F.3d at 47, and 28 U.S.C. § 1631, it is hereby ORDERED that the
Clerk transfer this motion to the United States Court of Appeals for

the Sixth Circuit.

aj
IT Is so oRDERED this f%* day of June, 2005.

 

. ANIEL BREEN \\
UNI ED sTATEs DISTRICT JUDGE

 

2 It does not appear that Curtis has filed a copy of this motion with the

Sixth Circuit.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:04-CV-02656 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

